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                     Exhibit 5
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Vestre Landsrets dom af 12. september 1988, j nr. B 44-1987
Rente spørgsmål – Lånearrangement – Vekselererfirma –
Forældelse

  ♦ Vestre Landsret tiltrådte en skatteyders påstand om, at nogle
    skattekrav vedr. indkomstårene 1978 og 1979 som følge af, at
    skatteyderen var nægtet ret til at fradrage renteudgifter vedr.
    et lånearrangement hos et vekselerfirma til køb af
    statsgældsbeviser, var forældet. Landsretten lagde til grund, at
    ligningsmyndighederne på baggrund af SD's cirkulære af 29.
    oktober 1979 om lånearrangementer havde haft anledning til
    straks at rejse de omhandlede skattekrav, i stedet for at afvente
    resultatet af en undersøgelse vedr. det pågældende
    vekselerfirma.
Vestre Landsret
Dissens
  I en af en skatteyder mod Skatteministeriet ved Vestre Landsret
anlagt sag har Vestre Landsret omstødt Statsskattedirektoratets og
ligningsrådets afgørelse truffet i 1986, og hvorefter skatteyderen
med virkning for indkomstårene 1978 og 1979 var nægtet ret til at
fradrage renteudgiften vedrørende et lånearrangement med et
vekselerfirma. Lånet var optaget til finansiering af købet af
statsgældsbeviser. Sagsøgeren nedlagde påstand om, at det som
følge af de ændrede skatteansættelser rejste krav på restskatten for
de omhandlede år var forældet efter forældelsesloven af 1908 § 1,
nr. 4.
  Vestre Landsrets dommerflertal fandt, at det af
Statsskattedirektoratet den 29. oktober 1979 udfærdigede cirkulære
om lånearrangementer af den her omhandlede karakter havde givet
ligningsmyndighederne anledning til straks at rejse de omhandlede
skattekrav over for sagsøgeren i stedet for at afvente resultaterne
af de undersøgelser vedrørende det pågældende vekselerfirma, som
først blev påbegyndt i 1983. Vestre Landsret gav derfor sagsøgeren
medhold.
  Skatteministeriet blev pålagt 13.500 kr. i sagsomkostninger.
  En dommer afgav dissens.
  Denne dommer mente ikke, at der var grundlag for at antage, at
skattemyndighederne havde udvist forsømmelighed ved
iværksættelsen og gennemførelsen af undersøgelsen hos
vekselerfirmaet.




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